      Case 1:21-cv-03030-TNM                                         Document 1-1 Filed 11/16/21 Page 1 of 2
ATTACHMENT     E
                                                                CIVIL COVER SHEET
JS-44 (Rev. 3/16 DC)
 I. (a) PLAINTIFFS                                                                 DEFENDANTS
 American Oversight                                                               U.S. Department of Homeland Security; U.S. Immigration and
                                                                                  Customs Enforcement


                                                          11001
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________              COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                          NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                          ATTORNEYS (IF KNOWN)

 Taylor Stoneman
 American Oversight, 1030 15th Street NW, B255
 Washington, DC 20005
 (202) 848-1319
 II. BASIS OF JURISDICTION                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                     PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                             PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government       o   3 Federal Question
         Plaintiff                  (U.S. Government Not a Party)     Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                        of Business in This State
 o     2 U.S. Government       o   4 Diversity                        Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                   (Indicate Citizenship of
                                                                                                                        of Business in Another State
                                     Parties in item III)             Citizen or Subject of a
                                                                      Foreign Country
                                                                                                   o3 o3                Foreign Nation                         o6 o6
                                              IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o   B. Personal Injury/                        o     C. Administrative Agency                         o     D. Temporary Restraining
                                  Malpractice                                      Review                                                 Order/Preliminary
       410 Antitrust                                                                                                                      Injunction
                               310 Airplane                                     151 Medicare Act
                               315 Airplane Product Liability                                                                    Any nature of suit from any category
                               320 Assault, Libel & Slander               Social Security
                                                                                                                                 may be selected for this category of case
                                                                               861 HIA (1395ff)
                               330 Federal Employers Liability                                                                   assignment.
                                                                               862 Black Lung (923)
                               340 Marine
                                                                               863 DIWC/DIWW (405(g))                            *(If Antitrust, then A governs)*
                               345 Marine Product Liability
                                                                               864 SSID Title XVI
                               350 Motor Vehicle
                                                                               865 RSI (405(g))
                               355 Motor Vehicle Product Liability
                                                                          Other Statutes
                               360 Other Personal Injury
                                                                               891 Agricultural Acts
                               362 Medical Malpractice
                                                                               893 Environmental Matters
                               365 Product Liability
                                                                               890 Other Statutory Actions (If
                               367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                   Personal Injury Product Liability
                                                                                   Involved)
                               368 Asbestos Product Liability


 o     E. General Civil (Other)                                 OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                    Forfeiture/Penalty
      210 Land Condemnation                 422 Appeal 27 USC 158                          625 Drug Related Seizure of                   470 Racketeer Influenced
      220 Foreclosure                       423 Withdrawal 28 USC 157                          Property 21 USC 881                           & Corrupt Organization
      230 Rent, Lease & Ejectment                                                          690 Other                                     480 Consumer Credit
      240 Torts to Land                 Prisoner Petitions                                                                               490 Cable/Satellite TV
      245 Tort Product Liability             535 Death Penalty                                                                           850 Securities/Commodities/
      290 All Other Real Property            540 Mandamus & Other                     Other Statutes                                         Exchange
                                             550 Civil Rights                             375 False Claims Act                           896 Arbitration
 Personal Property                           555 Prison Conditions                        376 Qui Tam (31 USC                            899 Administrative Procedure
      370 Other Fraud                        560 Civil Detainee – Conditions                  3729(a))                                       Act/Review or Appeal of
      371 Truth in Lending                       of Confinement                           400 State Reapportionment                          Agency Decision
      380 Other Personal Property                                                         430 Banks & Banking                            950 Constitutionality of State
          Damage                        Property Rights                                   450 Commerce/ICC                                   Statutes
      385 Property Damage                   820 Copyrights                                    Rates/etc.                                 890 Other Statutory Actions
          Product Liability                 830 Patent                                    460 Deportation                                    (if not administrative agency
                                            840 Trademark                                 462 Naturalization                                 review or Privacy Act)
                                                                                              Application
                                        Federal Tax Suits                                 465 Other Immigration
                                            870 Taxes (US plaintiff or
                                                                                              Actions
                                                 defendant)
                                            871 IRS-Third Party 26 USC 7609
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 o     G. Habeas Corpus/                      o      H. Employment                           o     I. FOIA/Privacy Act                   o      J. Student Loan
          2255                                       Discrimination
       530 Habeas Corpus – General                   442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                        (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                         national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                      discrimination, disability, age,
                                                         religion, retaliation)

                                             *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                         o      L. Other Civil Rights                   o     M. Contract                           o      N. Three-Judge
          (non-employment)                              (non-employment)                                                                        Court
                                                                                                   110 Insurance
       710 Fair Labor Standards Act                  441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                         Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                         443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                        440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                 445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                        Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act              446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                         Other                                         of Veteran’s Benefits
                                                     448 Education                                 160 Stockholder’s Suits
                                                                                                   190 Other Contracts
                                                                                                   195 Contract Product Liability
                                                                                                   196 Franchise


 V. ORIGIN
 o 1 Original          o 2 Removed          o 3 Remanded from o 4 Reinstated or o 5 Transferred from o 6 Multi-district o 7 Appeal to
        Proceeding           from State            Appellate Court             Reopened              another district              Litigation            District Judge
                             Court                                                                   (specify)                                           from Mag. Judge


 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
 5 U.S.C. 552. Defendant has failed to provide responsive records to FOIA request.

 VII. REQUESTED IN                          CHECK IF THIS IS A CLASS            DEMAND $                                       Check YES only if demanded in complaint
                                            ACTION UNDER F.R.C.P. 23                                                           YES                NO
      COMPLAINT                                                                     JURY DEMAND:

 VIII. RELATED CASE(S)                      (See instruction)                                                                  If yes, please complete related case form
                                                                                YES                      NO
       IF ANY
             11/16/2021
 DATE: _________________________                 SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
